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MM MeEAvoRs LAw FiRM

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LICENSED IN AR & DC 980-867-1371

February 18, 2024

VIA FEDERAL EXPRESS

Clerk of the Court

U.S. District Court for the Western District of Arkansas
Judge Isaac C. Parker Federal Bldg.

South 6th Street and Rogers Ave.

Room 1038

Fort Smith, AR 72901

re: _—_ Electronic files for Plaintiffs’ summary judgment filing in Virden v.
Crawford County, 2:23-CV-02071-PKH

Ladies and Gentlemen:

Plaintiffs are moving for summary judgment in the above-styled matter. The
enclosed thumb drive has the electronic files for Exhibits 2, 8, and 11 to
Ms. Virden’s Affidavit:
Exhibit 2 (December 2022 QC meeting audio)
2022-12-19 OC Meeting Audio.mp3
Exhibit 8 (February 2023 QC meeting audio)
Quorum 02-21-23.mp3
Exhibit 11 (Four video clips showing distance from children’s section to
Social Section)
Alma PL.MOV; Cedarville PLMOV; Mountainburg PL.MOV; Van Buren
PL.MOV

Thank you for your assistance.
Brian Meadors

enc: thumb drive
cc w/ enclosures: Sam McClelland (opposing counsel)
